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UNITED STATES DISTRICT C()URT
CENTRAL DISTRICT ()F CALIFORNIA - EASTERN DIVISION

 

DAVID GR()BER and VOICE
INTERNATIONAL, INC., A
California Corporation

Plaintiffs,

VS.

MAKO PRODUCTS, INC., AIR
SEA LAND PRODUCTIONS,
INC.,CINEVIDEOTECH, INC.,
SPECTRUM EFFECTS,
INC.,OPPENHEIMERCINE
RENTAL, LLC, BLUE SKY
AERIALS, INC., DOES 1-10,
JORDAN KLEIN, SR., and
JORDAN KLEIN, JR.

Defendants.

 

Case NO. CV 04-08604 SGL(OPX)

RENTAL HOUSE DEFENDANTS’
NOTICE OF M()TION AND MOTION
FOR SUMMARY JUDGMENT ON ALL
CLAIMS OF INFRINGEMENT

Date: 4/6/09
Time: 10:00 A.M.
Place: Courtroom 1
Hc)n. Stephan Larson

 

 

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RENTAL HOUSE DEFENDANTS’ NOTICE OF |\/|OT|ON AND MOT|ON
FOR SUl\/ll\/|ARY JUDGl\/|ENT ON ALL CLA|N|S OF |NFR|NGEMENT

 

 

 

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T() ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on April 6, 2009, at 10:00 A.M., or as soon
thereafter as counsel may be heard, in Courtroom One of the United States District
Court for the Central District of California, located at 3470 12th Street, Riverside,
California 92501, Defendants Air Sea Land Productions, Inc., Cinevideotech, Inc.,
Spectrum Effects, lnc., and Blue Sky Aerials, lnc., (“Rental House Defendants”)
move this Court, pursuant to F ederal Rule of Civil Procedure 56(b) for Summary
Judgment and states as follows:

l. Along with Mako Products, lnc., the manufacturer and developer of the
MakoHead, Plaintiffs have sued every Rental House that offers the MakoHead for
rent in the movie industry, alleging both direct and contributory infringement of the
‘662 patent.

2. To be liable for direct infringement, a party must “sell”, “offer to sell”,
or “use” the item in question. Further, to be liable for contributory infringement, the
party being charged must have knowledge of not only the existence of a potential
patent but actual knowledge of whether or not the accused device infringes the
patent at issue. Thus, there is a two step process to prove contributory infringement
First, there has to beproof of direct infringement; and, second the alleged infringer

must knowingly induce infringement and possess specific intent to encourage

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RENTAL HOUSE DEFENDANTS’ NOT|CE OF |V|OT|ON AND MOT|ON

 

FOR SUl\/IMARY JUDGMENT ON ALL CLA||\/|S OF |NFR|NGEMENT

 

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infringement of another. See MEMC Electronic Materials, lnc., v. Mitsubishi

l\/Iaterials Silicon Corp., 420 F.3d 1369, 1378 (Fed. Cir. 2005); see also Water

 

Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 667 (Fed.Cir.), cert. denied, 488 U.S.

 

968, 109 S.Ct. 498, 102 L.Ed.2d 534 (1988) (“Thus, a person infringes by actively
and knowingly aiding and abetting another's direct infringement Although § 27l(b)
does not use the word ‘knowing,’ the case law and legislative history uniformly
assert such a requirement.” (citations omitted)).

3. Plaintiffs’ claims are without merit with regard to all Rental House
Defendants, as the evidence will show the following facts: The Rental House
Defendants were not involved in any way in the development or design of the
MakoHead; did not have knowledge of the patent at issue prior to being sued by
Plaintiff; do not possess any knowledge regarding the inner workings of the
MakoHead; and, no Rental House Defendant has ever sold a MakoHead, offered a
MakoHead for sale, or used a MakoHead to shoot video in a business setting.

4. This motion is made following the conference of counsel pursuant to
Local Rule 7-3 which took place on May 13, 2008 during which defense counsel,
Joel Bennett, requested that Defendants delay this motion to allow additional
discovery from the Rental House Defendants. The Rental House Defendants have
produced extensive discovery documents and have already submitted affidavits on

the issues raised herein and Plaintiffs have had approximately one year and three

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RENTAL HOUSE DEFEND/-\NTS’ NOT|CE OF |VIOT|ON AND |VIOT|ON

 

FOR SU|V|MARY JUDGI\/|ENT ON ALL CLA|MS OF |NFR|NGE|\/|ENT

 

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months to conduct further discovery but have chosen not to do so. Accordingly, the
Rental House Defendants have already provided Plaintiffs additional time to
conduct discovery.

5. This motion is supported by this Notice and Motion along with the
Statement of Undisputed F acts with supporting evidence and Declarations, and the
supporting Memorandum of Points and Authorities in Support of Motion for
Summary Judgment being filed together herewith.

Dated: January 26, 2009.

VARNELL & WARWICK, P.A.

By: /s Brian W. Warwick
BRIAN W. WARWICK

Attomeys for Defendants

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RENTAL HOUSE DEFENDANTS’ NOT|CE OF MOTION AND MOTION
FOR SUMI\/|ARY JUDGl\/|ENT ON ALL CLA|MS OF lNFR|NGEl\/|ENT

 

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1 CERTIFICATE oF DELIVERY

l hereby certify that on the 26th day of January, 2009, l electronically filed the
foregoing with the Clerk of the Court using CM/ECF system which will send
4 notification of such filing to the following e-mail addresses:

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RENTAL HOUSE DEFENDANTS’ NOT|CE OF MOT|ON AND MOT|ON
FOR SU|\/|MARY JUDGMENT ON ALL CLA|N|S OF lNFR|NGE|\/IENT

 

 

 

